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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

 CONTINENTAL 332 FUND, LLC,
 CONTINENTAL 298 FUND LLC,
 CONTINENTAL 306 FUND LLC,
 CONTINENTAL 326 FUND LLC,
 CONTINENTAL 347 FUND LLC,
 CONTINENTAL 355 FUND LLC,
 CONTINENTAL 342 FUND LLC,
 CONTINENTAL 245 FUND LLC and
 KMM CONSTRUCTION OF FLORIDA,
 LLC,

        Plaintiffs,

 v.                                                Case No.: 2:17-cv-41-FtM-38MRM

 DAVID ALBERTELLI, ALBERTELLI
 CONSTRUCTION INC., WESTCORE
 CONSTRUCTION, LLC, NATIONAL
 FRAMING, LLC, MFDC, LLC, TEAM
 CCR, LLC, BROOK KOZLOWSKI, JOHN
 SALAT, KEVIN BURKE, KERRY
 HELTZEL, AMY BUTLER, US
 CONSTRUCTION TRUST,
 FOUNDATION MANAGEMENT, LLC,
 KMM CONSTRUCTION, LLC, GEORGE
 ALBERTELLI, GREGORY HILZ, GREAT
 AMERICAN INSURANCE COMPANY,
 ANGELO EQUIZABAL, JAMES
 ALBERTELLI and ALBERTELLI LAW,

        Defendants.
                                           /

                                           ORDER

        Plaintiff filed a Motion to Compel Production of Documents Pursuant to Third-Party

 Subpoenas Directed to Gunn & Company and GunnChamberlain 1 on June 17, 2019. (Doc. 387).


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   Plaintiffs state that “[u]pon information and belief, Gunn & Company and GunnChambelain are
 the same company.” (Doc. 387 at 2 n.1).
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 The third-party subpoena recipients have not retained counsel to enter an appearance in this case

 to respond to the motion sub judice, and the deadline by which to do so has long expired. See

 M.D. Fla. R. 3.01(b). 2 The motion is, therefore, due for the Court’s consideration. For the

 reasons below, the Court GRANTS the motion in part, DENIES the motion without prejudice in

 remaining part, and establishes a procedure for later determination of the subpoena recipients’

 reasonable expenses resulting from compliance with the subpoenas.

                                       LEGAL STANDARD

        Fed. R. Civ. P. 45(d)(1) provides, in part, that “[a] party or attorney responsible for

 issuing and serving a subpoena must take reasonable steps to avoid imposing undue burden or

 expense on a person subject to the subpoena.” Moreover, Fed. R. Civ. P. 45(d)(2)(B)(i) provides

 that if a subpoena recipient objects to production, “[a]t any time, on notice to the commanded

 person, the serving party may move the court for the district where compliance is required for an

 order compelling production or inspection.” Fed. R. Civ. P. 45(d)(2)(B)(ii) further provides that

 “[t]hese acts may be required only as directed in the order, and the order must protect a person

 who is neither a party nor a party’s officer from significant expense resulting from compliance.”

                                             ANALYSIS

        Plaintiffs move under Fed. R. Civ. P. 45(d)(2)(B)(i) and M.D. Fla. R. 3.04(a) for an order

 compelling the subpoena recipients to produce documents requested by Plaintiffs. (Doc. 387 at

 2; Doc. 381-1). Plaintiffs aver that the subpoena recipients “provided accounting services to

 several of the defendants and others involved in the payment of bribes, including but not limited

 to MFDC, Albertelli Construction Inc., and David Albertelli.” (Doc. 387 at 1).



 2
   Plaintiff’s certification under M.D. Fla. R. 3.01(g) states that the subpoena recipients are “not
 represented by counsel with respect to the subpoenas issued by Plaintiffs.” (Doc. 387 at 3).




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        According to Plaintiffs, “Gunn has objected to Plaintiffs’ subpoenas, and now seeks an

 unreasonable payment for compliance due in part to ‘Mr. Albertelli discontinue[ing] his

 relationship with [Gunn] in late 2016/early 2017 . . . with several unpaid invoices at the time.’”

 (Id. (alterations in the original)). “Specifically, Gunn demands a ‘deposit’ of $7,500.00 before it

 will release any documents to Plaintiffs.” (Id.). It appears that the subpoena recipients base this

 demand on the anticipated need for two Certified Public Accountants (“CPAs”) to gather

 responsive documents, working at hourly rates of $350.00 and $450.00, respectively. (Id.; see

 also Doc. 387-1 at Ex. C). The subpoena recipients estimate that full and defensible compliance

 will require 30-40 hours of work by the CPAs. (Doc. 387 at 2-3; Doc. 387-1 at Ex. C).

        Plaintiffs do not object to paying a “reasonable fee for compliance,” but they argue that

 the subpoena recipients’ deposit demand is “not proportional to the burden placed upon the

 company and is therefore unreasonable.” (Doc. 387 at 2). Plaintiffs claim that compliance with

 the subpoenas does not require any accounting expertise because the subpoenas are

 “straightforward.” (Id. at 3). Instead, Plaintiffs propose that the subpoena recipients “transfer

 any documents [in their] possession that are responsive to the subpoenas to a flash drive and send

 the same to Plaintiffs’ counsel.” (Id.). Plaintiffs protest that they “should not be subjected to

 these unreasonable demands simply because Defendant in this matter did not pay his accountants

 in accordance with their agreement.” (Id.). Plaintiffs fear that the ultimate expense related to

 compliance with the subpoena, beyond the $7,500 deposit, would potentially exceed $18,000.

 (Id.). They contend this amount is unreasonable because, in contrast, “TIAA bank has responded

 to Plaintiffs’ subpoena at a cost of $224.50 and CenterState Bank responded to Plaintiffs’

 subpoena at a cost of $1,500.” (Id.). Therefore, Plaintiffs ask the Court to (1) order the subpoena




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 recipients to produce the documents commanded by the subpoenas and (2) determine a

 reasonable fee for such production. (Id.).

        As a threshold consideration, the Court is not disturbed by the subpoena recipients’

 request that Plaintiffs advance a portion of the estimated expenses that will result from

 compliance before any documents are produced. Irrespective of the subpoena recipients’ prior

 dealings with Mr. Albertelli, advancing such costs to a third-party before documents are

 produced in response to a subpoena is certainly not uncommon, is consistent with Fed. R. Civ. P.

 45(d)(2)(B)(ii), and is justifiable if the cost of compliance would impose undue burden and

 expense on the subpoena recipient.

        The Court will abide by the directive of Fed. R. Civ. P. 45(d)(2)(B)(ii) to “protect a

 person who is neither a party nor a party’s officer from significant expense resulting from

 compliance.” In this regard, the Court has carefully reviewed the subpoenas at issue. (Doc. 387-

 1 at Ex. A). The Court finds that the categories of documents and information commanded by

 the subpoenas are broad and can reasonably be expected to require 30-40 hours of personnel time

 to ensure full and defensible compliance. Given the nature of the financial and accounting

 documents included within the scope of the subpoenas, moreover, the Court finds that it is

 reasonable for the subpoena recipients to utilize CPAs to search for these types of documents.

        At this time, however, the Court does not have sufficient information to determine the

 actual expenses that the subpoena recipients will incur in complying with the subpoenas. The

 Court cannot, therefore, determine at this time what a reasonable total fee for production should

 be. Plaintiffs do not propose a specific amount, but they imply an amount between $224.50 and

 $1,500 is appropriate because that is what other subpoena recipients were advanced or

 reimbursed in this case. (See Doc. 387). But the Court has no information regarding those other




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 subpoenas, the types of documents commanded by them, or the method by which those other

 subpoena recipients calculated their expenses resulting from compliance. (See id.). The Court

 declines to speculate as to these matters and will not take the bait to compare potential apples to

 potential oranges, leaving these subpoena recipients potentially exposed to significant additional

 expense without a mechanism for further reimbursement. Instead, the Court devises the

 procedure set forth below to ensure Plaintiffs receive the documents to which they are entitled

 and that the subpoena recipients are protected against unreasonable financial burden and expense

 resulting from compliance.

                                          CONCLUSION

        For these reasons, the Court ORDERS as follows:

        1.      Plaintiffs’ Motion to Compel Production of Documents Pursuant to Third-Party

                Subpoenas Directed to Gunn & Company and GunnChamberlain (Doc. 387) is

                GRANTED IN PART and DENIED WITHOUT PREJUDICE IN PART.

        2.      The Motion is GRANTED to the extent Plaintiffs ask the Court to order the

                subpoena recipients to produce documents in response to the subpoenas at issue.

                Gunn & Company and GunnChamberlain are hereby ORDERED to produce

                documents responsive to the subpoenas no later than July 31, 2019.

        3.      The Motion is DENIED without prejudice to the extent it seeks any further or

                different relief. However, the Court will impose the following procedure for re-

                submitting the cost issue to the Court for determination, if appropriate:

                a.      No later than July 17, 2019, Plaintiffs must deliver a check to the

                        subpoena recipients in the amount of $2,500, representing an advance

                        payment of reasonable expenses to be incurred as a result of compliance




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                    with the subpoena. The Court finds this amount to be reasonable and

                    appropriate, especially in view of the fact that Plaintiffs initially offered to

                    pay this amount in their negotiations with these subpoena recipients. (See

                    Doc. 387-1 at Ex. C).

             b.     No later than August 7, 2019, the subpoena recipients must deliver to

                    Plaintiffs’ counsel a detailed invoice for all of the subpoena recipients’

                    expenses and costs incurred by producing documents in response to the

                    subpoenas. The invoice must show a credit for the $2,500 advance

                    payment ordered above and must contain sufficient detail to permit the

                    Court to determine the reasonableness of the hours expended, the hourly

                    rates or wages charged, the tasks performed, and the costs incurred. If the

                    subpoena recipients fail to provide sufficient detail, the Court may deny

                    them further reimbursement for their expenses relating to compliance.

             c.     If Plaintiffs do not object to the invoice, it must be paid in full within

                    fourteen (14) days of receipt.

             d.     If Plaintiffs object to the invoice and Plaintiffs’ counsel is unable to

                    resolve this matter through a further good-faith conference with the

                    subpoena recipients, Plaintiffs may file a renewed motion seeking

                    appropriate relief. Any such motion must be filed no later than August

                    16, 2019.

       4.    Plaintiffs are ORDERED to serve a copy of this Order to the Subpoena recipients

             via electronic mail and regular U.S. Mail no later than July 17, 2019.




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        DONE AND ORDERED in Fort Myers, Florida on July 13, 2019.




 Copies furnished to:

 Counsel of Record
 Unrepresented Parties




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